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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF KENTUCKY
                                BOWLING GREEN DIVISION


GREG CRADDOCK,

         Plaintiff,

vs.                                                         Case No.: 1:19-cv-00169-GNS-HBB

RURAL COMMUNITY INSURANCE
COMPANY, d/b/a RCIS,

         Defendant.


                          DEFENDANT’S DISCLOSURE STATEMENT

     As required by LR 7.1 and LR 81.c and d, the Defendant, Rural Community Insurance
Company, provides the following information to the court:

      (a) The following are the names of all associations, firms, partnerships, corporations, and
          other artificial entities that either are related to the defendant as a parent, subsidiary, or
          otherwise, or have a direct or indirect pecuniary interest in the defendant’s outcome in the
          case:

         Rural Community Insurance Company
         Zurich American Insurance Company
         Zurich Holding Company of America, Inc.
         Zurich Insurance Company Ltd
         Zurich Insurance Group Ltd

      (b) With respect to each entity named in response to (a), the following describes its
          connection to or interest in the litigation, or both:

         Rural Community Insurance Company is a wholly owned subsidiary of Zurich American
         Insurance Company, a New York corporation. Zurich American Insurance Company is a
         wholly owned subsidiary of Zurich Holding Company of America, Inc., a Delaware
         corporation. Zurich Holding Company of America, Inc. is wholly owned by Zurich
         Insurance Company Ltd, a Swiss corporation. Zurich Insurance Company Ltd is directly
         owned by Zurich Insurance Group Ltd, a Swiss corporation. Zurich Insurance Group Ltd
         is the only publicly traded parent company, with a listing on the Swiss stock exchange,
         and a further trading of American Depositary Receipts.

         This the 23rd day of December, 2019
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                                             Respectfully submitted,

                                             JUDD, SATTERFIELD & ASSOCIATES, PLLC
                                             869 Broadway Avenue
                                             Bowling Green, Kentucky 42101
                                             Telephone (270) 904-4141
                                             Facsimile: (888) 590-2842

                                             /s/     Harlan E. Judd, III__________________
                                                     Harlan E. Judd, III

                                CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing has been served upon the
following, via regular U.S. mail, postage prepaid, and pursuant to the Court’s electronic filing
system, on this the 23rd day of December, 2019:

Nicholas A. Carter
Attorney at Law, PLLC
110 West 3rd Street
P.O. Box 155
Tompkinsville, KY 42167

                                             /s/     Harlan E. Judd, III__________________
                                                     Harlan E. Judd, III




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